           Case 8:19-bk-02721-MGW           Doc 15     Filed 04/26/19     Page 1 of 11




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                    Case No. 8:19-bk-02721-MGW
                                                          Chapter 7
Terry Lee Scott and
Tracy Lynn Scott,

      Debtor(s).
_______________________________/

                     MOTION TO SELL REAL PROPERTY
                  SUBJECT TO ALL ENCUMBRANCES, LIENS
          AND INTERESTS AND SOLICITATION OF GREATER OFFERS
     AND FOR AUTHORITY TO IMMEDIATELY PAY THE APPLICABLE TAXES
          (27170 HAWK’S NEST CIRCLE, WESLEY CHAPEL, FL 33544)

         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

      Pursuant to local rule 2002-4, the Court will consider the relief requested in this
   paper without further notice or hearing unless a party-in-interest files a response
   within 21 days from the date set forth on the proof of service, plus an additional
   three days for service if any party was served by U.S. mail.
      If you object to the relief requested in this paper, you must file your response
   with the Clerk of the Court at Sam M. Gibbons Courthouse, 801 N. Florida Ave.,
   #555, Tampa, FL 33602-3899, and serve a copy on the Trustee, Christine L.
   Herendeen, at P.O. Box 152348, Tampa, FL 33684, and any other appropriate
   person(s) within the time allowed. If you file and serve a response within the time
   permitted, the Court will either schedule and notify you of a hearing, or consider the
   response and grant or deny the relief requested without a hearing.
      If you do not file a response within the time permitted, the Court will consider
   that you do not oppose the relief requested in the paper, will proceed to consider the
   paper without further notice or hearing, and may grant the relief requested.

         COMES NOW Christine L. Herendeen, Chapter 7 Trustee, by and through her

undersigned counsel, and hereby moves for authority to sell certain improved real property

subject to all liens, encumbrances and interests, and for authority to immediately pay the

applicable taxes, and in support thereof states as follows:
              Case 8:19-bk-02721-MGW          Doc 15     Filed 04/26/19     Page 2 of 11




                                           JURISDICTION

         1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b) (2) (A),

(M), (N) and (O).

         2.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.      The basis for the relief requested herein are, inter alia, 11 U.S.C. §§ 105, 363(b)

and Federal Rules of Bankruptcy Procedure 2002 and 6004.

                                    PROPOSED SALE TERMS

         4.      Christine L. Herendeen, the Trustee duly appointed and acting for the above-

captioned estate reports that the Trustee intends to sell the following property of the estate of the

Debtor(s) under the following terms and conditions, twenty-one (21) days from the date set forth

on the proof of service attached to this motion plus an additional three (3) days:

             a. Description of Property: All of Bankruptcy Estate’s right, title and interest in the
         parcel(s) of non-exempt real property, together with any and all improvements located
         thereon, including any and all non-exempt appliances, window treatments and fixtures as
         well as any and all tenements and appurtenances thereto belonging or in anywise
         appertaining (collectively, the “Property”) more particularly described as follows:

Address:         27170 Hawks Nest Circle, Wesley Chapel, FL 3354

Legal:           LOT 17, BLOCK 5, QUAIL WOODS PHASE 2, A SUBDIVISION,
                 ACCORDING TO THE PLAT THEREOF RECORDED IN PLAT BOOK 68,
                 PAGE 28, IN THE UBLIC RECORDS OF PASCO COUNTY, FLORIDA.

              b. Manner of Sale: Private

              c. Terms of Sale: Wire or Certified Funds Only

              d. Purchaser: Black Point Assets, Inc., as Trustee of the 27170 Hawks Nest Circle
                 Land Trust

                The proposed Buyer is a bona fide “good faith” purchaser within the meaning of
         11. U.S.C. § 363(m) with no relation to the Debtor or the Trustee.
   Case 8:19-bk-02721-MGW            Doc 15     Filed 04/26/19     Page 3 of 11




   d. Purchaser’s Address: 13014 N. Dale Mabry Hwy., #357, Tampa, Florida 33618

    e. Sale Price: $10,000.00, subject to the auction procedures described in Paragraph 5
below.

         Based upon the liens and encumbrances listed herein and obtained from the
Debtor(s) schedules, the Trustee believes the offer is fair and reasonable and that the sale
is in the best interest of creditors and the estate.

    f. Applicable Taxes and Government Charges: The Trustee’s Deed prepared in
connection with the sale will set forth as consideration the purchase price, together with
the total amount of liens and encumbrances listed in paragraph h. below. Therefore, the
Purchaser will be required to pay, and agrees to pay, the Florida documentary stamp tax
calculated pursuant to Fla. Stat. § 201.02 on the total consideration reflected in the
Trustee’s Deed. In the event there are no higher bidders, the documentary stamp taxes to
be paid on the proposed sale will be $2,817.50 ($369,813.00 1st mortgage + $22,615.00
2nd mortgage + $10,000.00 sales price = total consideration of $402,428.00, rounded up
to the next one hundred dollars = $402,500.00; payment @ .70 per $1,000.00); however,
this amount is subject to increase in the event of a higher bid and a higher purchase price.

        Upon expiration of the negative notice period outlined herein, the Trustee shall
collect from the Purchaser an amount equal to the Sale Price, together with the
Applicable Taxes and Government Charges, calculated as set forth above. Upon receipt
of funds, the Trustee shall immediately:

       1) Execute a Trustee’s Deed and properly record an original copy of the executed
          Deed with the Clerk of the Court for the County where the Property is located.
       2) Incident to recording the Trustee’s Deed, the Trustee shall pay all applicable
          taxes (i.e., documentary stamp taxes) in full.
       3) Upon return receipt of the Trustee’s Deed from the Clerk of Court, the original
          shall be delivered by the Trustee, or her Attorney, to the Purchaser via U.S.
          Mail and a copy of the same shall be filed with the Clerk of the Court for the
          Middle District of Florida, Bankruptcy Court.

   h. Ownership Interest to be Transferred: All right, title and interest of bankruptcy
estate, if any.

   i. Subject to all liens and encumbrances, if any. No warranties of no liens. No
warranties of any kind. Liens included on the Debtor’s Schedule D include:
Lienholder                            Amount                  Nature of Secured Interest
LoanCare LLC                          $369,813.00 *           Mortgage*
Consumer Solutions Dept
P.O. Box 8068
Virginia Beach, VA 23450
            Case 8:19-bk-02721-MGW           Doc 15     Filed 04/26/19     Page 4 of 11




       GTE Financial Xpress                   $22,615.00      Mortgage*
       711 E Henderson Ave
       Tampa, FL 33602

*As per the Debtor(s) bankruptcy schedules

                          SOLICITATION OF GREATER OFFERS

       5.      The Trustee will entertain any higher bids for the purchase of the Property that the

Trustee proposes to sell. Such bids must be in writing and must be accompanied by a deposit for

100% of the proposed higher purchase price. Such bids must be received by the Trustee

electronically at clherendeen@herendeenlaw.com, and by US Mail at the address listed below, no

later than the close of business twenty-one (21) days from the date of mailing of this Motion, as

indicated in the Certificate of Service. Should a higher bid be received, the Trustee will conduct

a telephonic auction between the original purchaser named in this notice and the additional

bidder(s) at the earliest reasonable time after the said twenty one (21) days to determine the

ultimate purchaser. The trustee reserves the right, without a penalty, to withdraw this offer of

sale at any time. This sale will not become final until after the expiration of the twenty one (21)

day objection period and/or a favorable disposition of any objections to the sale.

       6.      The Trustee requests authorization for the secured lienholders and the ultimate

Purchaser to communicate regarding the future disposition of the Property, including but not

limited to, communications in connection with any unsatisfied liens or encumbrances of record.

       7.      Finally, the Trustee requests that any Order approving the sale include a provision

that shortens the fourteen day stay period required pursuant to Rule 6004(h) to allow the closing

to occur immediately upon entry of the order granting the instant motion.
             Case 8:19-bk-02721-MGW          Doc 15     Filed 04/26/19      Page 5 of 11




       WHEREFORE, the Trustee requests this Court to enter an order on the following terms:

       A.       Authorizing the sale of the Property to the ultimate purchaser subject to all liens,

encumbrances, or interests of any party and authorizing payment of applicable taxes;

       B.       Authorizing the Trustee to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a deed conveying the interests of the Debtor(s) in the Property to the

Purchaser;

       C.       Authorizing the Trustee to immediately pay the Applicable Taxes,

       D.       Waiving the Rule 6004(h) stay period, and

       E.       Granting the Trustee such other and further relief as is just and proper.

                                               Herendeen Law, LLC
                                               Attorney for Trustee
                                               P.O. Box 152348
                                               Tampa, FL 33684
                                               (813) 438-3833
                                               clherendeen@herendeenlaw.com

                                               By: /s/ Christine L. Herendeen
                                                   Christine L. Herendeen
                                                   Florida Bar No. 0094315
            Case 8:19-bk-02721-MGW          Doc 15     Filed 04/26/19      Page 6 of 11




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                    Case No. 8:19-bk-02721-MGW
                                                          Chapter 7
Terry Lee Scott and
Tracy Lynn Scott,
_______________________________/

                                 CERTIFICATE OF SERVICE

         I CERTIFY that on April 26, 2019, a true and correct copy of the foregoing Motion to

Sell Real Property Subject to All Encumbrances, Liens and Interests, Solicitation of Greater

Offers and for Authority to Immediately Pay the Applicable Taxes has been provided

electronically or by U. S. mail to the parties listed below and on the attached matrix.

    Department of Revenue, P.O. Box 6668, Tallahassee, FL 32314-6668

    Department of Revenue, Attn. Gordon L. Kiester, Esq., P.O. Box 2299, Mango, FL
    33550-2299

    LoanCare LLC, Consumer Solutions Dept, P.O. Box 8068, Virginia Beach, VA 23450

    GTE Financial Xpress, 711 E. Henderson Ave., Tampa, FL 23450

                                              Herendeen Law, LLC
                                              Attorney for Trustee
                                              P.O. Box 152348
                                              Tampa, FL 33684
                                              (813) 438-3833
                                              clherendeen@herendeenlaw.com

                                              By: /s/ Christine L. Herendeen
                                                 Christine L. Herendeen
                                                 Florida Bar No. 0094315
                       Case 8:19-bk-02721-MGW              Doc 15      Filed 04/26/19       Page 7 of 11




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
IN RE: TERRY LEE SCOTT                                          CASE NO: 8:19-bk-02721-MGW
       TRACY LYNN SCOTT                                         DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 4/26/2019, I did cause a copy of the following documents, described below,
Motion to Sell Property Subject to All Encumbrances, Liens and Interests and Solicitation of Greater Offers and for Authority
to Immediately Pay the Applicable Taxes (27170 Hawk's Nest Circle, Wesley Chapel, FL 33544)




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 4/26/2019
                                                          /s/ Christine L. Herendeen
                                                          Christine L. Herendeen
                                                          Herendeen Law, LLC
                                                          P.P. Box 152348
                                                          Tampa, FL 33684
                                                          813 438 3833
                           Case 8:19-bk-02721-MGW                  Doc 15        Filed 04/26/19         Page 8 of 11




                                        UNITED STATES BANKRUPTCY COURT
                                           MIDDLE DISTRICT OF FLORIDA
                                                 TAMPA DIVISION
 IN RE: TERRY LEE SCOTT                                                 CASE NO: 8:19-bk-02721-MGW
        TRACY LYNN SCOTT
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 4/26/2019, a copy of the following documents, described below,

Motion to Sell Property Subject to All Encumbrances, Liens and Interests and Solicitation of Greater Offers and for Authority to
Immediately Pay the Applicable Taxes (27170 Hawk's Nest Circle, Wesley Chapel, FL 33544)




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.
The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 4/26/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Christine L. Herendeen
                                                                            Herendeen Law, LLC
                                                                            P.P. Box 152348
                                                                            Tampa, FL 33684
PARTIES DESIGNATED AS Case  8:19-bk-02721-MGW
                      "EXCLUDE"                       Doc
                                WERE NOT SERVED VIA USPS   15 CLASS
                                                         FIRST   Filed 04/26/19 Page 9 of 11
                                                                     MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                DEBTOR                                   TRACY LYNN SCOTT
1LABEL MATRIX FOR LOCAL NOTICING         TERRY LEE SCOTT                          27170 HAWKS NEST CIRCLE
113A8                                    27170 HAWKS NEST CIRCLE                  WESLEY CHAPEL FL 33544-3412
CASE 8-19-BK-02721-MGW                   WESLEY CHAPEL FL 33544-3412
MIDDLE DISTRICT OF FLORIDA
TAMPA
FRI APR 26 11-41-34 EDT 2019



ACCOUNT CONTROL TECHNOLOGY               AMEX                                     BANK OF AMERICA
P O BOX 8012                             CORRESPONDENCEBANKRUPTCY                 PO BOX 982238
CANOGA PARK CA 91309-8012                PO BOX 981540                            EL PASO TX 79998-2238
                                         EL PASO TX 79998-1540




BARCLAYS BANK DELAWARE                   BAYCARE HEALTH SYSTEM                    BRAND SOURCECITI CBNA
ATTN CORRESPONDENCE                      PO BOX 31696                             ATTN BANKRUPTCY
PO BOX 8801                              TAMPA FL 33631-3696                      PO BOX 6403
WILMINGTON DE 19899-8801                                                          SIOUX FALLS SD 57117-6403




CAPITAL ONE                              CHASE CARD SERVICES                      CITIBANKBEST BUY
ATTN BANKRUPTCY                          ATTN BANKRUPTCY                          ATTN BANKRUPTCY
PO BOX 30285                             PO BOX 15298                             PO BOX 790441
SALT LAKE CITY UT 84130-0285             WILMINGTON DE 19850-5298                 ST LOUIS MO 63179-0441




CITIBANKTHE HOME DEPOT                   CLIENT SERVICES                          COMENITY BANKVICTORIA SECRET
ATTN RECOVERYCENTRALIZED BANKRUPTCY      3451 S TRUMAN BLVD                       ATTN BANKRUPTCY
PO BOX 790034                            SAINT CHARLES MO 63301                   PO BOX 182125
ST LOUIS MO 63179-0034                                                            COLUMBUS OH 43218-2125




CORDELL CORDELL                          DELL FINANCIAL SERVICES LLC              EMERGENCY MEDICAL ASSOC
100 N TAMPA ST                           PO BOX 81607                             PO BOX 9790
1625                                     AUSTIN TX 78708-1607                     DAYTONA BEACH FL 32120-9790
TAMPA FL 33602-5992




FLORIDA MEDICAL CLINIC PA                FLORIDA UROLOGY PARTNERS                 GTE FINANCIAL
38135 MARKET SQ                          PO BOX 26026                             ATTN BANKRUPTCY
ZEPHYRHILLS FL 33542-7539                TAMPA FL 33623-6026                      PO BOX 172599
                                                                                  TAMPA FL 33672-0599




GTE FINANCIAL DBA GTE FEDERAL CU         GTE FEDERAL CREDIT U                     GTE FINANCIAL XPRESS
711 E HENDERSEN                          711 E HENDERSEN                          711 E HENDERSON AVE
TAMPA FL 33602-2509                      TAMPA FL 33602-2509                      TAMPA FL 33602-2509




GULF COAST COLLECTION                    HELVEY ASSOCIATES                        HYUNDAI MOTOR FINANCE
PO BOX 21239                             1029 EAST CENTER ST                      ATTN BANKRUPTCY
SARASOTA FL 34276-4239                   WARSAW IN 46580-3420                     PO BOX 20829
                                                                                  FOUNTAIN CITY CA 92728-0829
PARTIES DESIGNATED ASCase  8:19-bk-02721-MGW
                      "EXCLUDE"                      DocFIRST
                                WERE NOT SERVED VIA USPS   15 CLASS
                                                                FiledMAIL
                                                                      04/26/19 Page 10 of 11
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

KOHLSCAPITAL ONE                         LAWN LIFE LANDSCAPING SVC                LOANCARE LLC
N56 W 17000 RIDGEWOOD DR                 8532 OLIVER ROAD                         CONSUMER SOLUTIONS DEPT
MENOMONEE FALLS WI 53051-5660            ZEPHYRHILLS FL 33540-5463                PO BOX 8068
                                                                                  VIRGINIA BEACH VA 23450-8068




MEMORIAL HOSPITAL OF TAMPA               MINUTECLINIC DIAGNOSTIC                  NPAS INC
PO BOX 740743                            ATTN 8445Y                               PO BOX 99400
CINCINNATI OH 45274-0743                 PO BOX 14000                             LOUISVILLE KY 40269-0400
                                         BELFAST ME 04915-4033




NATIONWIDE CREDIT INC                    NEW TAMPA UROLOGY                        NORTH TAMPA BEHAVIORAL HEALT
PO BOX 14581                             5332 PRIMROSE LAKE CIRCLE                29910 SR 56
DES MOINES IA 50306-3581                 TAMPA FL 33647-3589                      WESLEY CHAPEL FL 33543




PREMIER HEART VASCULAR                   QUAILWOODS HOMEOWNERS ASSOC              QUICKEN LOANS
P O BOX 2709                             CO HOMERIVER GROUP                       662 WOODWARD AVENUE
ZEPHYRHILLS FL 33539-2709                12906 TAMPA OAKS BLVD                    DETROIT MI 48226-3433
                                         STE 100
                                         TAMPA FL 33637-1154




READY REFRESH                            SAGIS PATHOLOGY                          SHERLOQ FINANCIAL
215                                      4131 DIRECTORS PKWY                      PO BOX 2842
6661 DIXIE HWY SUITE 4                   HOUSTON TX 77092-8703                    TAMPA FL 33601-2842
LOUISVILLE KY 40258-3950




SUNRISE CREDIT SERVICES                  SYNCBROOMS TO GO                         SYNCBHHGREG
PO BOX 9100                              ATTN BANKRUPTCY                          ATTN BANKRUPTCY
FARMINGDALE NY 11735-9100                PO BOX 965060                            PO BOX 965060
                                         ORLANDO FL 32896-5060                    ORLANDO FL 32896-5060




SYNCHRONY BANK JC PENNEYS                SYNCHRONY BANKCARE CREDIT                SYNCHRONY BANKDISCOUNT TIRE
ATTN BANKRUPTCY                          ATTN BANKRUPTCY DEPT                     ATTN BANKRUPTCY
PO BOX 956060                            PO BOX 965060                            PO BOX 105972
ORLANDO FL 32896-0001                    ORLANDO FL 32896-5060                    ATLANTA GA 30348-5972




SYNCHRONY BANKLOWES                      SYNCHRONY BANKWALMART                    TARGET
ATTN BANKRUPTCY                          PO BOX 965024                            PO BOX 673
PO BOX 965060                            ORLANDO FL 32896-5024                    MINNEAPOLIS MN 55440-0673
ORLANDO FL 32896-5060




TNB VISA TV TARGET                       TRANSWORLDSSYSTEMS                       USAA FEDERAL SAVINGS BANK
CO FINANCIAL RETAIL SERVICES             PO BOX 15636                             ATTN BANKRUPTCY
MAILSTOP BV PO BOX 9475                  WILMINGTON DE 19850-5636                 10750 MCDERMOTT FREEWAY
MINNEAPOLIS MN 55440-9475                                                         SAN ANTONIO TX 78288-1600
PARTIES DESIGNATED ASCase  8:19-bk-02721-MGW
                      "EXCLUDE"                      DocFIRST
                                WERE NOT SERVED VIA USPS   15 CLASS
                                                                FiledMAIL
                                                                      04/26/19 Page 11 of 11
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

                                                                                  CM/ECF E-SERVICE
VANGUARD EMERGENCY PHYS                  WAYPOINT RESOURCE GROUP
PO BOX 38036                             POBOX 8588                               UNITED STATES TRUSTEE   TPA713 +
PHILADELPHIA PA 19101-0801               ROUND ROCK TX 78683-8588                 TIMBERLAKE ANNEX SUITE 1200
                                                                                  501 E POLK STREET
                                                                                  TAMPA FL 33602-3949




CM/ECF E-SERVICE                         EXCLUDE                                  EXCLUDE
ALAN D BORDEN +                          CHRISTINE L HERENDEEN ATTORNEY FOR       CHRISTINE L HERENDEEN +
DEBT RELIEF LEGAL GROUP LLC              TRUSTEE                                  PO BOX 152348
901 W HILLSBOROUGH AVENUE                PO BOX 152348                            TAMPA FL 33684-2348
TAMPA FL 33603-1309                      TAMPA FL 33684-2348




CM/ECF E-SERVICE                         CM/ECF E-SERVICE
LESLIE RUSHING +                         NOTE ENTRIES WITH A + AT THE END OF
QUINTAIROS PRIETO WOOD BOYER PA          THE
1475 CENTERPARK BLVD SUITE 130           NAME HAVE AN EMAIL ADDRESS ON FILE IN
WEST PALM BEACH FL 33401-7424            CMECF
